                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                               DOCKET NO.: 5:06CR36

UNITED STATES OF AMERICA,                 )
          Plaintiff,                      )
vs.                                       )
                                          )                              ORDER
FOREST WAYNE SMITH,                       )
            Defendant.                    )
                                          )
_________________________________________ )

       THIS MATTER IS BEFORE THE COURT upon the receipt of a handwritten motion,

dated November 14, 2006, from the Defendant, Forest Wayne Smith (Document No. 178). In the

motion, Mr. Smith, who is currently in custody, asks for a bond hearing.

       The record reflects that Mr. Smith is represented by appointed counsel, Steven T. Meier. It

is the practice of this Court, when a defendant is represented by counsel, to rule on motions filed

only by counsel of record. Therefore, if Mr. Smith has any matters he wishes this Court to consider,

they must be submitted through his attorney.

       IT IS, THEREFORE, ORDERED that Mr. Smith’s request for a bond hearing is DENIED

without prejudice to his right to re-file the motion, if appropriate, through his attorney, Mr. Meier.

       The Clerk of Court is directed to send a copy of the motion to Mr. Meier along with his copy

of this Order.


                                                       Signed: November 16, 2006




    Case 5:06-cr-00035-KDB-DCK             Document 179         Filed 11/17/06      Page 1 of 1
